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                   Exhibit D
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                    UNITED STATES DISTRICT COURT

                      DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,
      Plaintiff,


           V.

                                              C.A. No. 17-11008-MLW
 CELLTRION HEALTHCARE CO.,
 LTD., ET AL.,
      Defendants.




                          MEMORANDUM AND ORDER



 WOLF, D.J.                                             February 20, 2018

     For the reasons described in court on February 16, 2018 and

suimnarized below, defendants Celltrion, Inc., Celltrion Healthcare

Co., Ltd. (together, "Celltrion"), and Hospira, Inc.'s Motion to

Dismiss or Strike Janssen Biotech Inc.'s Counterclaims under 35

U.S.C. §271(f) is being denied.

     Janssen pleads facts, which, taken as true and drawing all

reasonable inferences in favor of Janssen, are sufficient to prove

that defendants have violated §271(f). See Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009); Rodriguez-Ortiz v. Marao Caribe, Inc., 490
F.Sd 92, 96 (1st Cir. 2007). To violate §271(f), the defendant

must: (1) "suppl[y] or cause[] to be supplied in or from the United
States" (2) "all or a substantial portion of the components of a

patented invention," here, the ingredients of the Celltrion media
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used to produce Inflectra, "where such components are uncombined

in whole or in part," (3) "in such manner as to actively induce

the combination of such components outside of the United States"

(4) "in a manner that would infringe the patent if such combination

occurred within the United States." Id.

     Janssen's     counterclaim     alleges:     that    "at    Celltrion's

direction and control, and acting as Celltrion's agent, HyClone

supplies from the United States at least a substantial portion of

the components of the infringing Celltrion media, which HyClone

then combines at the Singapore Facility," Pi's Counterclaim at

SI34; that Hospira and Celltrion are in a joint enterprise with

respect to the manufacture and marketing of Inflectra, id. at SI45;

that "by causing HyClone to supply the components of the infringing
Celltrion media from the United States for combination at the

Singapore   Facility," Celltrion        and    Hospira "ha[ve]      actively
induced and continue[] to actively induce the combination of

components outside of the United States in a manner that would
infringe the 083 patent if such combination occurred within the
United States,"        at SISI40, 48; and that both do so intending to

that the Singapore media be combined in a manner that would

infringe the patent,           at 5538-39, 46-47. The counterclaim and

the complaint, incorporated by reference, allege facts adequate to
support these conclusions. See, e.g., id. at 5521-26; Compl. at
5561, 72-78, 98-104, 128. Therefore, Janssen has stated a plausible
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claim under §271(f). See WesternGeco, LLC v. Ion Geophysical Corp.,

876 F. Supp. 2d 857, 899-901 (S.D. Tex. 2012); Jacobs Vehicle Sys.,

424 F. Supp. 2d 388, 395 (D. Conn. 2006).

     In addition, Janssen may as of right assert the §271(f)

counterclaim in its answer to defendants' counterclaims for a

declaratory judgment of non-infringement and invalidity, all of

which are compulsory counterclaims. See Fed. R. Civ. P. 13. Rule

13 provides that "a pleading must state as a counterclaim any claim

that—at the time         of its service—the pleader has against an

opposing party if the claim: (A) arises out of the transaction or
occurrence that is the subject matter of the opposing party's

claim; and (B) does not require adding another party over whom the

court     cannot    acquire    jurisdiction,"      and   "may   state      as    a

counterclaim against an opposing party any claim that is not

compulsory." Fed. R. Civ. P. 13(a)(1) & (b) (emphasis added). Rule
7(a)(3)    states     that    a "pleading" includes "an         answer     to    a

counterclaim designated as a counterclaim." Under Federal Rule of

Civil     Procedure    15,    leave   of   court   is    only   required        for

"amendments" to a pleading. Therefore, leave of court is not

required     for      Janssen's   counterclaim      in    its   answer.         See
Southeastern Indus. Tire Co., Inc. v. Duraprene Corp., 70 F.R.D.

585, 586 (E.D. Pa. 1976)(Becker, D.J.); see also Wiggins v. FDIC,
2017 U.S. Dist. LEXIS 167042, at *11 (N.D. Ala. 2017); Power Tools
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Supply Inc. V. Cooper Power Tools, Inc., 2007 U.S. Dist. LEXIS

29571, at *7-8 (E.D. Mich. Apr. 20, 2007).

     If leave of court were required under Rule 15, the court

expects that it would allow the amendment. Although Janssen's long

delay in bringing its claim creates a serious concern, see Steir

V. Girl Scouts of the USA, 383 F.3d 7, 12 (1st Cir. 2004), the

court does not find that Janssen has acted in bad faith or with a

dilatory     motive.   In   addition,   it   does   not   now   appear      that

defendants will suffer undue prejudice from the addition of the

claim under §271(f). See Foman v. Davis, 371 U.S. 178, 182 (1962).

The claim will not require substantially more discovery than is

being sought concerning Janssen's demand for lost profits, which
depends in part on whether, as a practical matter, Celltrion could
have made Inflectra, which it began marketing in the United States

on   about   January 1, 2017, at a competitive             price and on a

comparable launch schedule using media produced in Singapore that
was non-infringing. See March 3, 2017 Order at 2.

      Therefore, it is hereby ORDERED that the Motion to Dismiss or

Strike Janssen's Counterclaims under 35 U.S.C. §271(f) (Docket No.

122) is DENIED.




                                     UNITED STATES DISTRICT JUDGE
